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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

TINA M. WINKLER, et al                            )
                                                  )
               Plaintiffs,                        )
       v.                                         )   Case No. 8:18-cv-00865-PX
                                                  )
MEDTRONIC, INC. and                               )
HEARTWARE, INC.,                                  )
                                                  )
               Defendants.                        )

                                     MOTION TO DISMISS

       Defendants Medtronic, Inc. and HeartWare, Inc. (“Defendants”) hereby move this Court

to dismiss Plaintiffs’ Complaint. Plaintiffs claim that John C. Winkler (“the decedent”) suffered a

cardiac arrest and died because his HeartWare Left Ventricular Assistive Device (“LVAD”) lost

power. Plaintiffs now seek damages in connection with the alleged malfunction. The Complaint

asserts five causes of action jointly against Medtronic and HeartWare: Negligent Design (Count

I); Negligent Manufacture (Count II); Breach of Warranty (Count III); Strict Liability (Count IV);

and Wrongful Death (Count V).

       As set forth in Defendants’ supporting memorandum of law, there are at least two reasons

for dismissing Plaintiffs’ pleading. First, all of Plaintiffs’ claims are preempted under the Medical

Device Amendments to the Federal Food, Drug, and Cosmetic Act. See 21 U.S.C. § 360k(a). This

statute preempts Plaintiffs’ state law claims because the LVAD is a Class III medical device, and

because Plaintiffs’ claims seek to impose state-law requirements that are different from or in

addition to the FDA’s requirements. Second, Plaintiffs have failed to plead facts to support any

of their theories of liability. Rule 8(a) requires a plaintiff to allege sufficient facts to state a

plausible cause of action. Plaintiffs’ Complaint fails to comply with this pleading standard.
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       For the foregoing reasons, and as set forth more fully in their Memorandum in Support of

their Motion to Dismiss, Defendants respectfully request that the Court dismiss Plaintiffs’

Complaint.




Dated: April 30, 2018                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 30, 2018, the foregoing document was filed via the Court’s

CM/ECF system, and also sent via electronic and U.S. mail to counsel for Plaintiffs:

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                                                                  /s/ DaWanna McCray
                                                                  DaWanna McCray




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